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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="646736d4db"&gt;&lt;span data-sentence-id="894080b59c" quote="false" data-paragraph-id="646736d4db"&gt; Adrienne Marie Stone, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="7aeebcfb3e" quote="false" data-paragraph-id="646736d4db"&gt; &lt;br /&gt; The People of the State of Colorado Respondent &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="ecaab5dedc"&gt;No. 21SC678&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="bec54d0376"&gt;October 17, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="22256bf648"&gt;&lt;span data-sentence-id="83600ba1eb" quote="false" data-paragraph-id="22256bf648"&gt; Court of Appeals Case No. 19CA1772 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="84a3633aca"&gt;&lt;span data-sentence-id="4b0e798599" quote="false" data-paragraph-id="84a3633aca"&gt; Petition for Writ of Certiorari GRANTED.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="947f2b72b3"&gt;&lt;span data-sentence-id="b3b144a050" quote="false" data-paragraph-id="947f2b72b3"&gt; Whether an occupant's consent to a law enforcement officer's entry into his or her home for one purpose extends to the officer's re-entry into the home for a different purpose after the officer briefly left the residence.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
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